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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


Terves LLC,                     )            CASE NO.: 1: 19 CV 1611
                                )
                 Plaintiff(s),  )            JUDGE DONALD C. NUGENT
                                )
                 vs.            )                    NOTICE:
                                )
Yueyang Aerospace New Materials )
Co., Ltd., et al.,              )
                                )
                 Defendant(s).  )



                SCHEDULING OF CASE MANAGEMENT CONFERENCE

       All counsel and/or parties will take notice that the above-entitled action has been set for a

Case Management Conference (CMC) on NOVEMBER                    22, 2019 at 8:45 a.m.

before Judge Donald C. Nugent, Room 15A, Carl B. Stokes U.S. Court House, 801W. Superior

Avenue, Cleveland, Ohio 44113.

                              PRESENCE OF LEAD COUNSEL

       Lead counsel must be present in person at the CMC. If the presence of lead counsel will

constitute an undue hardship, a written motion to make other arrangements and excuse the

presence lead counsel must be filed no later than seven (7) days prior to the CMC.

                                    TRACK ASSIGNMENT

       This case is subject to the provisions of Differentiated Case Management (DCM ) as set

forth in the Local Rules of the Northern District of Ohio. This Court will evaluate this case in

accordance with LR 16.2(a)(1) and assign it to one of the case management tracks. Each of the

tracks (expedited, standard, complex, mass tort and administrative) has its own set of guidelines
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and time lines governing discovery practice, motion practice and trial.



                CONSENT TO JURISDICTION OF MAGISTRATE JUDGE

       A Magistrate Judge has been assigned to assist in this case. The parties are encouraged

to discuss and consider consenting to the jurisdiction of the Magistrate Judge.

                         PREPARATION FOR CMC BY COUNSEL

       Except in government collection cases and actions by unrepresented prisoners, the parties

shall meet prior to the CMC to discuss the case and prepare a proposed discovery plan pursuant

to Fed. R. Civ. P. 26(f). The Court places the burden of arranging this meeting on counsel

for Plaintiff(s) if originally filed with this Court or, on counsel for Defendant(s) if removed.

The parties shall, at or within 10 days after the meeting and without awaiting a discovery

request, provide the basic information to the other parties specified by Fed. R. Civ. P. 26(a)(1)

(initial disclosures), Fed. R. Civ. P. 26(a)(2) (disclosure of expert testimony) and Fed. R. Civ. P.

26(a)(3) (pretrial disclosures) shall also apply in this case. As part of the planning meeting,

counsel must determine whether there will be discovery of electronically stored information

(ESI)[E-discovery]. If counsel anticipate any E-discovery, they must decide on a method for

conducting such discovery or they must agree to abide by the default standard set forth in

Appendix K to the Local Civil Rules. A Report of Parties’ Planning Meeting under Fed. R.

Civ. P. 26(f) and Local Rule 16.3(b), (Parties shall use the attached Form) shall be filed

with the Court at least three (3) working days before the CMC. Pursuant to Fed. R. Civ. P.

26(d), a party may not seek formal discovery from any source before the parties have met and

conferred.


                                                 2
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       Unless otherwise ordered by the Court, initial disclosures, discovery depositions,

interrogatories, requests for documents, requests for admission, answers and responses thereto

shall not be filed with the Clerk’s office, except that discovery materials may be filed as

evidence in support of a motion or for use at trial.

       Plaintiff(s) shall provide defendant(s) with a written demand to include a description and

monetary breakdown of the damages claimed no later than one week prior to the date of the

CMC. Defendant(s) shall respond with an offer no later than the date of the CMC.

       It is the responsibility of counsel for the plaintiff(s) to verify that a copy of this Order has

been received by counsel for the defendant(s) or, if no counsel has entered an appearance for

defendant(s), has been received by defendant(s).

       Please Note, effective January 1, 2006, ALL attorneys who practice before this Court are

REQUIRED to file electronically pursuant to Local Civil Rule 5.1(c).

       Further, any attorney desiring to practice in a case before this Court, whose name has not

appeared on an initial pleading or motion, shall enter a written notice of appearance.



                                     OTHER DIRECTIVES

      Parties shall submit a courtesy copy of all dispositive motions, oppositions and

replies, along with all supporting material to chambers. No party may file a motion for

summary judgment prior to close of discovery without express leave of Court. All

summary judgment arguments shall be made in a single motion. Parties may not file

multiple summary judgment motions without express leave of court.




                                                  3
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                               RESOLUTION PRIOR TO CMC

       In the event that this case is resolved prior to the CMC, counsel should submit a jointly

signed stipulation of settlement or dismissal, or otherwise notify the Court that the same is

forthcoming. IT IS SO ORDERED.

                                                     _/s/Donald C. Nugent_____
                                                     DONALD C. NUGENT
                                                     United States District Judge

DATE: October 7, 2019
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                                          ATTACHMENT 1


                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


                                              )       CASE NO.
                                              )
                    Plaintiff,                )       JUDGE DONALD C. NUGENT
                                              )
                                              )
                    vs.                       )       REPORT OF PARTIES'
                                              )       PLANNING MEETING UNDER
                                              )       FED. R. CIV.P. 26(f)
                                              )       AND LR 16.3(b)
                                              )
                    Defendant.        )


      1. Pursuant to FED. R. CIV. P. 26(f) and LR 16.3(b), a meeting was held on

                                   , and was attended by:

                                 counsel for plaintiff(s)_______________________      ___

________                         counsel for plaintiff(s)                          ________

                                 counsel for defendant(s)______________________________

_________________________ counsel for defendant(s)

      2. The parties:

                    have exchanged the pre-discovery disclosures required by FED. R. CIV. P.

                    26(a)(1) and the Court's prior order;

                    will exchange such disclosures by                      ;

      3. The parties recommend the following track:

                 Expedited                 Standard              Complex
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                   Administrative         Mass Tort

       4.     This case is suitable for one or more of the following Alternative Dispute

Resolution (ADR) mechanisms:

                   Early Neutral Evaluation     Mediation      Arbitration

                   Summary Jury Trial                  Summary Bench Trial

                   Case not suitable for ADR

       5. The parties     do/   do not consent to the jurisdiction of the United States

Magistrate Judge pursuant to 28 U.S.C. § 636(c).

       6. Recommended Discovery Plan:

              (a) Describe the subjects on which discovery is to be sought and the nature and

                   extent of discovery.




  ____________________________________________________________________________



              (b) The parties (indicate one):

              ______ agree that there will be no discovery of electronically-stored information;

              or

              ______have agreed to a method for conducting discovery of electronically-stored

              information; or

              ______have agreed to follow the default standard for discovery of electronically-

              stored information (Appendix K to Northern District Ohio Local Rules)
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                  (c) Non- Expert Discovery cut-off date: __________________

                  (d) Plaintiff’s (or party with the burden of proof on an issue) expert report due

                       date:_________________

                       Defendant’s (or party without the burden of proof on an issue) due

                       date:__________________

                       Expert Discovery cut-off date:______________________



           7. Recommended dispositive motion date:

  ____________________________________________________________________________

           8. Recommended cut-off date for amending the pleadings and/or adding additional

parties:

            ______________________________________________________________________

           9. Recommended date for a Status Hearing:

           10. Other matters for the attention of the Court:




                                  Attorney for Plaintiff(s)______________________________

__________________________________________________________________________

                                  Attorney for Plaintiff(s)______________________________

__________________________________________________________________________
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                        Attorney for Defendant(s)_____________________________

___________________________________________________________________________

                        Attorney for Defendant(s)______________________________

____________________________________________________________________________
